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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on November 9, 2023

UNITED STATES OF AMERICA
v.
NDUBUISI JOSEPH OKAFOR, M.D.,

Defendant.

CRIMINAL NO. 23-CR-116 (JDB)

VIOLATIONS:

21 U.S.C. §§ 841(a)(L1) and (b)(1)(C)
(Unlawful Distribution of Controlled
Substances)

21 U.S.C. § 846

(Conspiracy to Unlawfully Distribute
Controlled Substances)

21 U.S.C. § 856(a)(1)

(Maintaining a Drug Involved Premises)
18 U.S.C. § 2

(Aiding and Abetting)

FORFEITURE:
21 U.S.C. § 853(a) and (p); 28 U.S.C. §
2461(c)

INDICTMENT

The Grand Jury charges that:

GENERAL ALLEGATIONS

1. At all times relevant to the Indictment, NDUBUISI JOSEPH OKAFOR, M.D.

(“OKAFOR”), an internal medicine physician, was licensed by the District of Columbia Board

of Medicine, under license number MD19779, to practice medicine in the District of Columbia.

2. OKAFOR owned and operated Okafor Medical Associates PLLC (hereinafter

“Okafor Medical Associates”), located at 7603 Georgia Avenue Northwest, Washington, D.C.

20012, within the District of Columbia.

3. As part of his practice, OKAFOR prescribed controlled substances, including
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highly addictive opioids, under his U.S. Drug Enforcement Administration (“DEA”) registration
number FO4353188.

4. Individually, and through Okafor Medical Associates, OKAFOR routinely
prescribed mixtures and substances containing a detectable amount of controlled substances to his
patients and other individuals, outside the usual course of professional practice and not for a
legitimate medical purpose.

BACKGROUND ON CONTROLLED SUBSTANCES

5. The Controlled Substances Act (“CSA”), codified at Title 21, United States Code,
Section 801, ef. seg., governed the manufacture, distribution, and dispensation of controlled
substances in the United States. The CSA and the Code of Federal Regulations (“CFR’’) contained
definitions relevant to this Indictment, some of which are set forth below.

6. The term “controlled substance” meant a drug or other substance, or immediate
precursor, included in Schedule I, I, Ill, IV and V, as designated by Title 21, United States Code,
Section 802(c)(6), and the CFR.

7. The designation “Schedule II” meant the drug or other substance had a high
potential for abuse; the drug had a currently accepted medical use with severe restrictions; and
abuse of the drug or other substance may have led to severe psychological or physical dependence.

a. Oxycodone was classified as a Schedule IT controlled substance, pursuant
to 21 C.F.R. § 1308.12(b)()(xiv). Oxycodone, sometimes prescribed under brand names
including Percocet, was used to treat severe pain. Oxycodone, as with other opioids, was
highly addictive.

8. Except in limited circumstances, Schedule II controlled substances could not be

dispensed without a written prescription. See 21 U.S.C. § 829. In addition, “[t]he refilling of a
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prescription for a controlled substance listed in Schedule II [was] prohibited.” See 21 C.F.R.
§ 1306.12(a); 21 U.S.C. § 829(a).

9. The designation “Schedule V” meant the drug or other substance had a lower
potential for abuse than Schedules I-IV and consisted of preparations containing limited quantities
of certain narcotics. Schedule V drugs were generally used for antidiarrheal, antitussive, and
analgesic purposes,

a. Promethazine with Codeine Oral solution, sometimes prescribed under
brand names including Phenergan with Codeine and Pentazine with Codeine, was
classified as a Schedule V controlled substance.

10. The term “practitioner” meant a medical doctor, physician, or other individual
licensed, registered, or otherwise permitted, by the United States or the jurisdiction in which she
or he practiced, to dispense a controlled substance in the course of business. See 21 U.S.C.
§ 802(21).

11. | The term “dispense” meant to deliver a controlled substance to an ultimate user or
research subject by, or pursuant to the lawful order of, a practitioner, including the prescribing and
administering of a controlled substance. The term “distribute” meant to deliver (other than by
administering or dispensing) a controlled substance.

12. Upon application by the practitioner, the DEA assigned a unique registration
number to each qualifying medical practitioner, including physicians and nurse practitioners, to
dispense Schedule II, II, IV, and V controlled substances. To issue a prescription for a controlled
substance, an authorized practitioner must have had a DEA registration number for each location,

and for each state where the practitioner was prescribing controlled substances.
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13. Medical practitioners, such as physicians and nurse practitioners, who were
authorized to prescribe controlled substances by the jurisdiction in which they were licensed to
practice medicine were authorized under the CSA to prescribe, or otherwise distribute, controlled
substances, if they were registered with the Attorney General of the United States. See 21 U.S.C.
§ 822(b); 21 C.F.R. § 1306.03.

14. Under the CSA and CFR, a prescription for a controlled substance was unlawful
unless issued for a legitimate medical purpose by a registered practitioner acting in the usual course
of professional practice. “The responsibility for the proper prescribing and dispensing of controlled
substances is upon the practicing prescriber ....” 21 C.F.R. § 1306.04. “An order purporting to be
a prescription issued not in the usual course of professional treatment ... [was] not a prescription
within the meaning and intent of [S]ection [ ] 829 ...”). Id.

15. All prescriptions for controlled substances were required to be “dated as of, and
signed on, the day when issued and [ ] bear the full name and address of the patient, the drug name,
strength, dosage form, quantity prescribed, directions for use, and the name, address and

registration number of the practitioner.” 21 C.F.R. § 1306.05(a).

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COUNT ONE
Conspiracy to Unlawfully Distribute Controlled Substances — 21 U.S.C. § 846

16. — Paragraphs 1-15 of this Indictment are re-alleged and incorporated by reference as
if fully set forth herein.

17. From in or around May 2021, and continuing through in or around April 11, 2023,
within the District of Columbia and elsewhere, the defendant,

NDUBUISI JOSEPH OKAFOR, M.D.,

and co-conspirators not indicted herein, who are known and unknown to the Grand Jury, did
knowingly and intentionally combine, conspire, confederate, and agree together, and with other
persons, to knowingly and intentionally distribute and dispense controlled substances, including
oxycodone, a Schedule II controlled substance and promethazine with codeine, a Schedule V
controlled substance, and other controlled substances, outside the scope of professional practice
and not for a legitimate medical purpose, in violation of Title 21, United States Code, Section
841(a)(1). All in violation of Title 21, United States Code, Section 846.

Purpose of the Conspiracy

18. It was a purpose and object of the conspiracy for the conspirators, and others known
and unknown to the Grand Jury, to unlawfully enrich themselves by, among other things:
(a) distributing and dispensing controlled substances outside the usual course of professional
practice and not for a legitimate medical purpose; (b) generating large profits from distributing
and dispensing the controlled substances; and (c) diverting the proceeds from distributing and

dispensing the controlled substances for their personal use and benefit.
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Manner and Means of the Conspiracy

The manner and means by which OKAFOR, along with his co-conspirators, known and
unknown to the Grand Jury, sought to accomplish the purpose and object of the conspiracy
included, among other things:

19. OKAFOR used his status as a licensed physician, his DEA Registration Number,
and his medical practice, Okafor Medical Associates, to knowingly prescribe controlled
substances, including oxycodone and promethazine with codeine, outside the usual course of
professional practice and not for a legitimate medical purpose.

20. OKAFOR’s prescribing practices demonstrated a gross lack of individualized care
for his purported patients; the vast majority of the controlled substance prescriptions OKAFOR
issued were for oxycodone and promethazine with codeine regardless of the patient’s individual
diagnosis and for periods of time that were inconsistent with accepted use.

21. OQKAFOR obtained some of his purported patients from drug traffickers and
others, including his co-conspirators.

22. OKAFOR’s co-conspirators ordered prescriptions for controlled substances from
OKAFOR or a representative at Okafor Medical Associates, by providing patient names, dates of
birth, pharmacy addresses, and the type and quantity of the controlled substance. OKAFOR would
create a prescription using the information provided by his co-conspirators in exchange for a cash
payment.

23. |OKAFOR also issued electronic prescriptions for controlled substances directly to
pharmacies where his co-conspirators intended to pick up the prescribed controlled substances.

24. OKAFOR exchanged controlled substance prescriptions for cash knowing his co-

conspirators would pick up and divert the controlled substances.
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25. OKAFOR’s co-conspirators paid OKAFOR approximately $180 to $300 in
exchange for each controlled substance prescription that he wrote for them.

26. OKAFOR knew, or had reason to know, certain patients to whom he wrote
controlled substance prescriptions were not who they claimed to be; did not have a medical
necessity for the controlled substance prescription; and were abusing or diverting the controlled
substances.

27. | OKAFOR prescribed numerous controlled substance prescriptions to his co-
conspirators, in the names and addresses requested by his co-conspirators even when he knew such
names or addresses were false.

28. OKAFOR issued controlled substance prescriptions to his co-conspirators across
multiple States. OKAFOR’s co-conspirator, or a representative of the co-conspirator, would then
travel to the pharmacy indicated on OKAFOR’s prescription and attempt to pick up the prescribed
controlled substance. Indeed, it was part of the conspiracy that OKAFOR would issue controlled
substance prescriptions to the same purported patient in multiple states under multiple addresses.

29. In some instances, when OKAFOR’s co-conspirator was unable to obtain a
controlled substance at a particular pharmacy, OKAFOR would issue a new controlled substance
prescription to a nearby pharmacy, where the co-conspirator was able to obtain the controlled
substance.

30. | When contacted about a prescription that he wrote for his co-conspirators,
OKAFOR would claim the prescription was valid, even when he knew the patient’s name or
address was false, or that the prescription was premised on an invalid diagnosis or lack of medical
necessity.

31. At times, OKAFOR falsified medical records to create the appearance that
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prescriptions issued to his purported patients were issued in the usual course of professional
practice and for a legitimate medical purpose.

32. OKAFOR maintained documentation of how much his co-conspirators owed him
for writing medically unnecessary prescriptions for controlled substances.

33. ©OKAFOR’s co-conspirators communicated with him, including through platforms
such as WhatsApp, and other messaging applications.

COUNT TWO

Maintaining a Drug-Involved Premises and Aiding and Abetting —
21 U.S.C. § 856(a)(1) and 18 U.S.C. § 2

34, Paragraphs | through 15 and 18 through 33 of this Indictment are realleged and
incorporated by reference as if fully set forth herein.

35. From in or around May 2021, and continuing through in or around April 11, 2023,
in the District of Columbia, the defendant,

NDUBUISI JOSEPH OKAFOR, M.D.,

aiding and abetting and aided and abetted by others known and unknown to the Grand Jury, did
unlawfully and knowingly use and maintain a place known as Okafor Medical Associates, located
at 7603 Georgia Avenue Northwest, Washington, D.C. 20012, for the purpose of distributing
controlled substances, including oxycodone (Schedule II) and promethazine with codeine
(Schedule V), and other controlled substances, outside the usual course of professional practice
and without a legitimate medical purpose, in violation of Title 21, United States Code, Section

856(a)(1) and Title 18, United States Code, Section 2.
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COUNTS THREE —- TWENTY-NINE

Unlawful Distribution of Controlled Substances and Aiding and Abetting —
21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2

36. Paragraphs 1 through 15 and 18 through 33 of this Indictment are realleged and
incorporated by reference as if fully set forth herein.
37, On or about the dates listed below, in the District of Columbia and elsewhere, the
defendant,
NDUBUISI JOSEPH OKAFOR, M.D.,
aiding and abetting and aided and abetted by others known and unknown to the Grand Jury, did
knowingly and intentionally distribute and dispense controlled substances, outside the scope of

professional practice and not for a legitimate medical purpose, as set forth below:

Count Se tecinion = a Controlled Substance
Written Initials
3 July 12, 2022 CS Oxycodone
4 July 21, 2022 CS Oxycodone
5 November 14, 2022 UC 2 Oxycodone
6 November 14, 2022 UC 3 Oxycodone
0 November 30, 2022 UC 2 Oxycodone
8 November 30, 2022 UC 3 Oxycodone
9 June 30, 2022 JV Oxycodone
10 November 1, 2022 JV Oxycodone
1] November 16, 2022 JV Oxycodone
12 November 21, 2022 AN Promethazine with Codeine
13 November 21, 2022 LN Promethazine with Codeine
14 November 28, 2022 KE Oxycodone
15 November 30, 2022 MW Oxycodone

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c Approximate Date “Patient’s”

ount a Initials Controlled Substance
16 December 3, 2022 RB Oxycodone
17 December 3, 2022 SS Oxycodone
18 December 3, 2022 KE Oxycodone
19 December 3, 2022 JG Oxycodone
20 December 3, 2022 CG Oxycodone
21 February 2, 2023 JD Oxycodone
22 February 2, 2023 OD Oxycodone
23 February 2, 2023 OD Oxycodone
24 February 23, 2023 RaD Oxycodone
25 February 23, 2023 RoD Oxycodone

| 26 March 31, 2023 MS Oxycodone
27 March 31, 2023 TW Oxycodone
28 March 31, 2023 KE Oxycodone
29 March 31, 2023 AS Oxycodone

FORFEITURE ALLEGATION

Criminal Forfeiture — 21 U.S.C § 853(a) and (p) and 28 U.S.C. § 2461(c)

38. Pursuant to Title 21, United States Code, Section 853(a), the United States of
America gives notice to the defendant that upon conviction of an offense in violation of Title 21,
United States Code, Sections 841, 846, or 856 the following is subject to forfeiture:

a. All property constituting, or derived from, any proceeds obtained, directly or

indirectly, as the result of such violation; and

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b. All property used, or intended to be used, in any manner or part, to commit, or to
facilitate the commission of, such violation, including, but is not limited to, any
DEA registration(s) for NDUBUISI JOSEPH OKAFOR, M.D.

Money Judgment and Substitute Assets

39. The United States will seek the imposition of a money judgment against the
defendant, NDUBUISI JOSEPH OKAFOR, MLD., upon conviction.

40. OKAFOR is notified that in the event that one or more conditions listed in Title
21, United States Code, Section 853(p)(1) exist, the United States will seek to forfeit any other
property of the defendant up to the amount of the money judgment against the defendant, pursuant
to Title 21, United States Code, Section 853(p)(2) and Title 28, United States Code, Section

2461(c).
A TRUE BILL:

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MATTHEW M. GRAVES
Attorney of the United States in
and for the District of Columbia

Katyn Furtado Hy
GLENN S. LEON

Chief, Fraud Section
Criminal Division

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